          Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                          :

               v.                                 :   CRIMINAL NO. 19-417

JUSTIN DAVID MAY                                  :


                                   ORDER OF FORFEITURE

               IT IS HEREBY ORDERED THAT:

               1.      As a result of defendant Justin David May’s guilty plea as to Counts One

through Twenty-Two of the Indictment charging him with mail fraud, in violation of 18 U.S.C.

§ 1341, the defendant is required to forfeit criminally his interest any property, real or personal,

which constitutes or is derived from proceeds traceable to such offenses, pursuant to 18 U.S.C.

§ 981(a)(1)(c) and 28 U.S.C. § 2461.

               2.      All property real or personal that constitutes, or is derived from, proceeds

the defendant obtained, directly or indirectly, as a result of his violations of 18 U.S.C. § 1341 is

forfeited to the United States.

               3.      The sum of $38,036 represents the value of property that constitutes or is

derived from proceeds traceable to offenses charged in Counts One through Twenty-Two of the

Indictment.

               4.      The defendant shall forfeit to the United States the $38,036 in proceeds

that he obtained as a result of his violations of 18 U.S.C. § 1341, as charged in Counts One

through Twenty-Two of the Indictment, pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. §

2461, and Federal Rule of Criminal Procedure 32.2(b)(2).
          Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 2 of 8




                5.     A money judgment in the amount of $38,036 is hereby entered against the

defendant.

                6.     Pursuant to 21 U.S.C. § 853(p), due to the defendant’s acts or omissions,

these proceeds are not currently available to the government for forfeiture, and the United States

is authorized to seek forfeiture of substitute assets of the defendant up to the amount of the

uncollected money judgment. The government may move at any time, pursuant to Federal Rule

of Criminal Procedure 32.2(e)(1)(B), to amend this Order to forfeit specific property belonging

to the defendant having a value up to the amount of the uncollected money judgment, as

substitute assets.

                7.     Upon entry of this Order or any amendment thereto that is entered

pursuant to Federal Rule of Criminal Procedure 32.2(e), the Attorney General or a designee is

authorized to seize any specific property subject to forfeiture that is identified in this Order or

subsequent amendment, pursuant to Federal Rule of Criminal Procedure 32.2(b)(3).

                8.     Upon entry of this Order, the Attorney General or a designee, pursuant to

Federal Rule of Criminal Procedure 32.2(b)(3) and 21 U.S.C. § 853(m), is authorized to conduct

any discovery to identify, locate, and dispose of property subject to this Order and to address any

third-party claims, including depositions, interrogatories, requests for production of documents,

and subpoenas pursuant to Federal Rule of Civil Procedure 45.

                9.     Because the government does not seek forfeiture of any specific asset at

this time, advertisement of the judgment and third-party proceedings are not required.

Fed. R. Crim. P. 32.2(c)(1) (no ancillary proceedings to address third-party claims required

where specific property is not being forfeited).




                                                   -2-
          Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 3 of 8




               10.     Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this forfeiture

Order shall become final as to the defendant at the time of sentencing and shall be made part of

the defendant’s sentence and included in the judgment and commitment order.

               11.     The Court shall retain jurisdiction to enforce this forfeiture Order, and to

amend it as necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

               12.     The Clerk of the United States District Court for the Eastern District of

Pennsylvania shall deliver a copy of this forfeiture Order to the Federal Bureau of Investigation

(“FBI”), and to counsel for the parties.




               ORDERED this ___ day of _____________________, 2020.



                                       ____________________________________________
                                       HONORABLE JOEL H. SLOMKSY
                                       United States District Court Judge




                                                -3-
          Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 4 of 8




                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                           :

               v.                                  :    CRIMINAL NO. 19-417

JUSTIN DAVID MAY                                   :


              GOVERNMENT’S MOTION FOR ORDER OF FORFEITURE

               The United States of America, by and through its attorneys, William M.

McSwain, United States Attorney for the Eastern District of Pennsylvania, and Michael S. Lowe,

Assistant United States Attorney, respectfully requests entry of an order of forfeiture, and, in

support of this motion, the United States represents as follows:

               1.        On July 18, 2019, Justin David May was charged in an Indictment with

violating 18 U.S.C. § 1341, mail fraud (Counts One through Twenty-Two). The Indictment also

contained a Notice of Forfeiture, which alleged that the defendant’s interest in certain property

was forfeitable pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461, as a result of his

violations of 18 U.S.C. § 1341. The Notice of Forfeiture also provided notice that, in the event

such property cannot be located, the government would seek to recover substitute assets pursuant

to 21 U.S.C. § 853(p).

               2.        On September 12, 2019, defendant Justin David May pleaded guilty to

Counts One through Twenty-Two of the Indictment.

               3.        As a result of his guilty plea, the defendant is required, pursuant to 18

U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461, to forfeit criminally his interest any property, real or

personal, which constitutes or is derived from proceeds traceable to violations charged in Count

One through Twenty-Two of the Indictment.
                                                  -1-
          Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 5 of 8




               4.      Based upon the defendant’s plea agreement and the facts set forth in the

government’s plea memorandum, and in the record as a whole, the government avers that the

sum of $38,036 in United States currency is subject to forfeiture as a result of the defendant’s

guilty plea as to Counts One through Twenty-Two of the Indictment, and that the government

has established the requisite nexus between such property and the offenses. This amount

represents the value of proceeds that he obtained as a result of his violations of 18 U.S.C. §1341.

See Honeycutt v. United States, 137 S. Ct. 1626 (2017) (a defendant must forfeit the property that

he himself acquired from the offense giving rise to the forfeiture); United States v. Gjeli, 867

F.3d 418, 426-27 (3d Cir. 2017) (applying Honeycutt to forfeitures of proceeds under 18 U.S.C.

§ 1963 and 18 U.S.C. § 981(a)(1)(C)); United States v. Brown, 694 Fed. App’x 57, 2017 WL

3404979 (3d Cir. Aug. 9, 2017) (applying Honeycutt to forfeitures of proceeds under 18 U.S.C.

§ 982(a)(2)); United States v. Vampire Nation, 451 F.3d 189, 202 (3d Cir. 2006) (an in personam

forfeiture money judgment may be entered against the defendant for the full amount of the

criminal proceeds); Fed. R. Crim. P. 32.2(b)(1) (where the government seeks an order of

forfeiture for criminal proceeds, the court must determine the amount of money that the

defendant will be ordered to pay).

               5.      The government, therefore, seeks an order of forfeiture of the $38,036 in

proceeds that he obtained as a result of his violations of 18 U.S.C. § 1341, pursuant to 18 U.S.C.

§ 981(a)(1)(c) and 28 U.S.C. § 2461, and the entry of a money judgement in this amount.

               6.      Based upon the facts set forth at the defendant’s change of plea hearing,

and in the record as a whole, the defendant has dissipated or otherwise spent the proceeds that he

obtained and the United States cannot locate the proceeds upon the exercise of due diligence, and

one or more of the conditions in 21 U.S.C. § 853(p) have been met. Accordingly, pursuant to 21

U.S.C. 853(p) and Federal Rule of Criminal Procedure 32.2(e)(1)(B), the government is
                                                -2-
           Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 6 of 8




authorized to seek forfeiture of substitute assets of the defendant up to the amount of $38,036. 21

U.S.C. § 853(p); Fed. R. Crim. P. 32.2(b)(2). 1

               7.      The government requests authority to conduct discovery, in accordance

with Federal Rule of Criminal Procedure 32.2(b)(3) and 21 U.S.C. § 853(m), to identify, locate,

and dispose of property subject to forfeiture and to address any third-party claims.

               8.      Because the government seeks only a forfeiture order in the amount of

proceeds that the defendant obtained and does not seek the forfeiture of any specific asset at this

time, advertisement of the order and third-party proceedings are not required. Fed. R. Crim. P.

32.2(c)(1) (no ancillary proceedings to address third party claims required where forfeiture does

not include specific property).




       1
          Title 21 U.S.C. § 853(p) provides that the government is entitled to the forfeiture of
substitute property if, as a result of any act of the defendant, forfeitable property cannot be found
upon the exercise of due diligence or has been transferred or deposited with a third party. Fed.
R. Crim. P. 32.2(e)(1)(B) provides that the court may, at any time, amend an existing order of
forfeiture to include substitute property. The government may forfeit substitute assets to satisfy
a forfeiture money judgment. See, e.g., United States v. Hall, 434 F.3d 42, 58 n.7 (1st Cir. 2006)
(substitute assets may be forfeited to satisfy a forfeiture order for a sum of money that the
defendant, by his act or omission, has prevented the government from tracing); United States v.
Moses, No. 1:05-CR-133, 2010 WL 3521725, at *9 (D. Vt. Sept. 7, 2010) (any property not
forfeited as proceeds or facilitating property may be forfeited as substitute assets to satisfy the
money judgment); United States v. George, No. 1:09cr431, 2010 WL 1740814, at *3 (E.D. Va.
Apr. 26, 2010) (defendant ordered to forfeit annuity payments she was entitled to receive for the
next ten years as substitute asset in partial satisfaction of money judgment); United States v.
Carroll, 346 F.3d 744, 749 (7th Cir. 2003) (defendant may be ordered to forfeit “every last
penny” he owns as substitute assets to satisfy money judgment).
                                                  -3-
         Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 7 of 8




              For the reasons stated above, the government requests that this Court enter the

attached Order.

                                               Respectfully submitted,

                                               WILLIAM M. McSWAIN
                                               United States Attorney

                                                /s/ Sarah L. Grieb
                                                SARAH L. GRIEB
                                                Assistant United States Attorney
                                                Chief, Asset Recovery and Financial Litigation


                                                /s/ Michael S. Lowe
                                                MICHAEL S. LOWE
                                                Assistant United States Attorney

Date: March 13, 2020




                                              -4-
          Case 2:19-cr-00417-JHS Document 27 Filed 03/13/20 Page 8 of 8




                                 CERTIFICATE OF SERVICE

               I certify that a copy of the Government’s Motion for Order of Forfeiture and

proposed Forfeiture Order have been filed electronically in the Clerk’s Office Electronic Case

Filing (ECF) system and are available for viewing and downloading from the ECF system, and

that a true and correct copy of the motion and proposed order were served upon counsel for the

defendant by electronic filing, as follows:



                                  Natasha Taylor-Smith
                                  Federal Community Defender Office
                                  601 Walnut Street, Suite 540
                                  West Philadelphia, PA 19106
                                  215-928-1100
                                  Fax: 215-928-1112
                                  natasha_taylor-smith@fd.org




                                                /s/ Michael S. Lowe
                                                MICHAEL S. LOWE
                                                Assistant United States Attorney

Date: March 13, 2020
